                     Exhibit A




Case 3:24-cv-01359   Document 1-1   Filed 11/15/24   Page 1 of 50 PageID #: 5
         ' '.           EFTLED 10115t2404:56 pM CASE NO. 24e,2481 Joseph p. Day, Cterk
      CIRCUIT COURT SUMMONS                                                                                               NASHVILLE, TENNESSEE

                                                           STATE OF TENNESSEE
        Service lD 468035
                                                            DAVIDSON COUNTY
                                                           20* JUDICIAL DISTRICT
                                                                                                                   CIVILACTION
        LUCAS, IAN HLINTER                                                                                         DOCKET NO. 24C2481
                                                                                                                   Method of Service:
                                                                                            Plaintiff               Davidson County Sheriff
        vs.

        VANDERBILT LINIVERSITY
        2IOO WEST END AVENIIE
       SUITE 11OO                                                                                                             RECEIVED
       NASHVILLE, TN 37203
                                                                                                                            ocl I 7 n2+
cn
o                                                                                      Defendant
3.                                                                                                              Vandetbilt University
o
o
g
      Io the above named Defendant:                                                                         affiec of the General Counsel                     ' .'l

A     V9! qF ;ymmoled to appear and defend a civil action filed against you in the Circuit Court, 1 public Square, Room 302, p,O. Box
o)
6     196303' Nashville, TN 37219-6303 , and your defense must be mad! within thirty (30) days from the date this Summons is served
o
(^)   upon you. You are further directed to file your defense with the Clerk of the Court ind send a copy to the plaintiffs attorney it the
(Jl
      address lisied below.

      ln case of your failure to defend this action by the above date, judgment by default will be rendered against you for the relief demanded
      in the Complaint.
                                                                                                                      JOSEPH P. DAY
       rssUED:       10t15t2a24
                                                                                                                  ".",03J;g:ff,ilitl:,**""
                                                                                                 By:
                                                                                                         S\rs
                                                                                                         Deputy L;lefl(

      ADDRESS OF PLAINTIFF'S ATTORNEY OR PI-AINTIFF:
        IAN HLINTER LUCAS
        221 CHARLESTONAVE
                                                                                                                iiF;:'tT''i$ff.E,
        PLEASANT VIEW, TN 37146
                                                                                                          fi r {tilTffiiq{Fw
       NOTIC                     EFENDANT:
       Tennessee law provides a Ten Thousand and 00/100 Dollars ($10,000.00) debtor's equity interest personal property exemption from execulion
        or seizure to satisry a judgmenl. lf a judgment should be entered against you in this action and you wish lo claim property as exempt, you must
       lile a written list, under oath, of the items you wish to clairn as exempl with lhe Clerk of the Court. The list may be filed at any time and may be
       changed by you thereafter as necessary; however, unless it is filed before the judgment becomes final, it will not be effective as to any execution
       or gamishment issued prior to lhe tiling of ihe list. Certain items are automatically exempt by law and do not need to be listed; these include
       items of necessary wearing apparel (clothing) for yourself and your family and trunks or other receptacles neces$ary to contain such apparel,
       family portrails, the family Bible, and school books. Should any of these items be seized, you would have the right to recover them. lf you do not
       understand your                      or how to exerclse it, you     wish to seek the counsel of a lawyer

                                                  ,o ,uqu""t an ADA accommodation, please coniact Trey Collier at (61s) SS0-3g09
                                           S




                                                                                                                                              rev,09l0V2n22



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        EFILED 1A106124 08:05 PM CASE NO.24C2481 Joseph P. Day, Clerk




                IN THE CIRCUIT COURT OF DAVIDSON COUNTg TENNESSEE
                 FOR THE TWENTIETH JUDICIAL DISTRICT AT NASHVITLE

                                      IAN HUNTER LUCAS,
                                             Plaintiff,
                                                                                   RECETVED
                                                 v.
                                    VANDERBILT UNIVERSIW
                                                                                  OCT I   I N/rtt
                                               and                           Vanderbilt University
                        VANDERBILT UNIVERSITY SCHOOL OF NURSIN$gi
                                                                             ce ofthe General Counsel
                                           Defendants.

                                     VERIFIED COMPTAINT                         ,3E Ri'TCF.
                               JURV DEMAND ENDORSED HEREIN
                             UNDER SEAI AND IN CHAMBER RSVIEW
                                                                                                    $T1T,'
                               FCA NOTICE OF FILING UNDER SEAI
    Pursuant to 31 U.S.C. 5 3730(bl(21, this Verified €omplaint is being filed under seal. The
  contents herein contain confidential, sensitive, or proprietary information, including but not
  limited to personal health information (PHl! subject to the Health lnsurance Portability and
 Accountability Act (HIPAA) and other privacy regulations. Access to this document is restricted
                 and it shall remain under seal until further order of the Court,




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          EFILED 10106124 08:05 PM CASE NO. 24C24Bj Joseph p. Day, Cterk




                 IN THE CIRCUIT COURT OF DAVIDSON COUNTY, TENNESSEE
                  FOR THE TWENTTETH JUDICIAL DTSTRTCTAT NASHVIIIE

  IAN HUNTER LUCAS,
  Plaintiff,
  v.
  VANDERBI[T UNIVERSIW
  and
  VANDERBILT UNIVERSITY SCHOOL OF NURSING,
  Defendants.

  Case No,
  VERIFIED COMPLAINT
  JURY DEMAND ENDORSED HEREIN
  UNDER SEAI AND IN CHAMBER REVIEW



  I. INTRODUCTION




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  II. JURISDICTION




 III. PARTIES




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                                 STATUTE OF TIMITATIONS




                        EXHAUSTION OF ADMINISTRATIVE REMEDIES




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                              CONFIDENTIALITY AND HIPAA COMPLIANCE




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                                 IV. GENERAL ALTEGATIONS




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                            V. COUNT ONE: BREACH OF CONTRACT




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               Vl. COUNT TWo: BREACH OF THE IMPLIED COVENANT OF GOOD

                                  FAITH AND FAIR DEALING




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                 Vll. COUNT THREE: DISCRIMINATION UNDER THE AMERICANS

                                wrrH DrsABruTrEs AcT {ADA}




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                       VIII. COUNT FOUR: REIALIATION FOR REPORTING

                                      DISCRIMINATION




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  lX. COUNT FIVE: VIOLATION OF SECTION S04 OF THE

  REHABILITATION ACT




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                   X. COUNT SIX: INTENTIONAI INFLICTION OF EMOTIONAL

                                       DTSTRESS (ilEDl




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                               XI. COUNT SEVEN: NE6LIGENCT




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                   Xll. COUNT EIGHT: DEFAMATION {LIBEL AND SI-ANDERI




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                          Xlll. COUNT NINE: INVASION OF PR|VACY




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  XlV. COUNT TEN: DUE PROCESS VIOLATIONS UNDER STATE tAW




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                       XV. COUNT ETEVEN: WRONGFUT TERMINATION




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               XVl. COUNT TWELVE: VIOLATION OF THE FAMILY EDUCATIONAL

                             RTGHTS AND PRTVACY ACT (FERPAI




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                XVII. COUNTTHTRTEEN: DISPARATE TREATMENT UNDER STATE

                                ANTI.DISCRIMINATION TAWS




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                     XVlll. COUNT FOURTEEN: FAILURE TO COMPLY WITH

                     TEN N ESSEE'S CO M PUTER-RE LATED CRI MES STATUTES




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                 XlX. COUNT FIFTEEN: NEGLIGENT INFLICTION OF EMOTIONAL

                                          DISTRESS




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                     XX. COUNT SIXTEEN: TORTIOUS INTERFERENCE WITH

                             PROSPECTIVE BUSI NESS RETATIONS




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  JURY DEMAND:




  Respectfully submitted,



  /s/ lan Hunter Lucos
  IAN HUNTER LUCAS
  Pro 5e
  Dated: March L2,2024
  221 Charleston Avenue
  Pleasant VieW TN, 37126
  (910) 872-3577 (telephone)
  ia n,h. lu cas@ protonrna il.com
  ianh unterlucas@outlook.com
  Plaintiff Pro 5e




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   DECLARATION OF VERIFIED COMPIAINT
   l, lan Hunter Lucas, declare as follows:
      L. I am the Plaintiff in the above-captioned matter.
      2. I have read the foregoing Verified Complaint and know the contents thereof.
      3. The allegations contained therein are true and correct to the best of my knowledge,
          information, and belief.
      4. I understand that by verifying this Complaint, I am swearing under penalty of perjury
         under the laws of the United States of America and the State of Tennessee that the
         foregoing is true and correct.
  Executed on   this  6th day of        October       2O24, at Pleasant View, Tennessee


  Respectfu lly 5u bmitted,
  ls/ lan Hunter Lucas
  IAN HUNTER LUCAS
  Plaintiff Pro Se
  22l Charleston Avenue
  Pleasant View, TN 37L46
  (eLol872-3s77
  ia n. h. lucas (oprotonma il.com
  ia nhu nte rlucas@qutlogk.   com.




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  NOTICE OF ELECTRONIC SIGNATURE
  ln accordance with the applicable rules of the Circuit Court of Davidson County, Tennessee, and
  any relevant electronic filing protocols, this document includes the use of an electronic
  signature. The designation "/s/ lan Hunter Lucas" serves as the legally binding equivalent of a
  handwritten signature for all purposes related to this filing'
  By affixing this electronic signature, l, lan Hunter Lucas, affirm under penalty of perjury that the
  contents of this document are true and correct to the best of my knowledge, information, and
  belief. This signature is executed in compliance with all statutory requirements and the rules
  governing electronic filings in this jurisdiction.
  Dated this      day  of             ,2024.
              -
  Respectfully submitted,
  /sl lan Hunter Lucas
  IAN HUNTER LUCAS
  Plaintiff Pro 5e
  22l Charleston Avenue
  Pleasant View, TN 37L46
  pfi\872-3s77
  ian.h.lucas@orotonmall.com
  ia@
  CERTIFICATE OF SERVICE
  I hereby certify that on    this 6th day of                        2A24, a true and correct copy of
  the foregoing   Verified Complaint was filed under seal and is therefore not served upon any
  party until further notice by the Court.  -Qctobel--_---,
  pursuant to the Court's order, and in compliance with 3L U,S.C. 5 3730(bX2), this document
  remains under seal and is subject to in-chamber review. Service upon the Defendants will be
  executed in accordance with the Court's directives once the seal is lifted'

  Respectfu I ly submitted,
  /s/ lan Hunter Lucas
  IAN HUNTER LUCAS
  Pro 5e
  22l Charleston Avenue
  Pleasant View, TN 37146
  (gLOl872-3577
  ian.h.lucas@protonmail.com
  ialhunterlucas@outlook'com




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